       24-10264-cgb Doc#165 Filed 04/21/25 Entered 04/21/25 10:19:06 Main Document Pg 1 of
Fill in this information to identify the case:
                                               14

            RIC (Austin), LLC
Debtor Name __________________________________________________________________


                                        Western District
United States Bankruptcy Court for the: _______ District ofof________
                                                              Texas

                                                                                                                      Check if this is an
Case number: 24-10264-cgb
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                 March 2025
                      ___________                                                               Date report filed:    04/21/2025
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   Real Estate Development
Line of business: ________________________                                                      NAISC code:           5313
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           Erik White
                                             ____________________________________________

Original signature of responsible party      ____________________________________________

Printed name of responsible party            Erik White
                                             ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔                
    2.   Do you plan to continue to operate the business next month?                                                       
                                                                                                                           ✔                
    3.   Have you paid all of your bills on time?                                                                          
                                                                                                                           ✔                
    4.   Did you pay your employees on time?                                                                                               
                                                                                                                                             ✔

    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔                
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                
                                                                                                                           ✔                
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔                
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                   
                                                                                                                                             ✔

    9.   Have you timely paid all of your insurance premiums?                                                              
                                                                                                                           ✔                
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔         
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔         
    13. Did any insurance company cancel your policy?                                                                             
                                                                                                                                   ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                
                                                                                                                           ✔                
    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔         
Official Form 425C                           Monthly Operating Report for Small Business Under Chapter 11                      page 1
     24-10264-cgb Doc#165 Filed 04/21/25 Entered 04/21/25 10:19:06 Main Document Pg 2 of
                                             14
Debtor Name   RIC  (Austin), LLC
              _______________________________________________________                             24-10264-cgb
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                              206,149.61
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            768,803.00
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          233,738.97
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                             535,064.03
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                             741,213.64
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                          3,992.91
                                                                                                                            $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
     24-10264-cgb Doc#165 Filed 04/21/25 Entered 04/21/25 10:19:06 Main Document Pg 3 of
                                             14
Debtor Name   RIC  (Austin), LLC
              _______________________________________________________                                24-10264-cgb
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                0.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                           0
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                           0
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                   85,454.16
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                     420,955.24
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 768,803.00
                                          ____________           –     768,803.00
                                                                     $ ____________
                                                                                               =            0.00
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 433,480.00                   233,738.97              =     199,741.03
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                                                 –                             =
    34. Net cash flow                   $ 355,323.00
                                          ____________                 535,064.03
                                                                     $ ____________                  -199,741.00
                                                                                                   $ ____________


    35. Total projected cash receipts for the next month:                                                                         1,000,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  733,815.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                   266,185.00




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
     24-10264-cgb Doc#165 Filed 04/21/25 Entered 04/21/25 10:19:06 Main Document Pg 4 of
                                             14
Debtor Name   RIC  (Austin), LLC
              _______________________________________________________                            24-10264-cgb
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.
    ✔ 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
    

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                         page 4


         Print                     Save As...                                                                               Reset
24-10264-cgb Doc#165 Filed 04/21/25 Entered 04/21/25 10:19:06 Main Document Pg 5 of
                                        14



                      RIC (Austin) Inc.
                      Balance Sheet
                      March 31, 2025
                      Unaudited


                                                                  March 2025
                      ASSETS
                      Current assets:
                           Cash                                       741,213.64
                           Other Receivables
                           Claims Receivable                       11,047,959.58
                           Inventory Land                          37,120,042.68
                           Inventory Building                      63,256,402.30
                           WIP 1 Development Costs                 39,976,895.53
                           Total current assets                    152,142,513.73
                      Fixed assets:

                                                                               0.00
                      Other assets:

                            Due From Shareholder                         1,000.00
                                                                         1,000.00
                                                                   152,143,513.73
                      LIABILITY AND SHAREHOLDER'S EQUITY
                      Current liabilities:

                           Accounts Payable                              3,992.91
                           Total current liabilities                     3,992.91
                      Long term liabilities:

                            Promissory Note Due to RMLP 88642        1,500,000.03
                            Mortgage Payable RMLP 8864              88,146,533.77
                            Mortgage Payable RMLP 88641             51,444,027.44
                            Debt payable Panache                    11,047,959.58
                                                                   152,138,520.82
                      Shareholder's equity:

                            Equity Capital                               1,000.00
                            Total shareholder's equity                   1,000.00
                                                                   152,143,513.73




                                                         Page 1
                                                    TriState Capital Bank
       24-10264-cgb Doc#165 Filed301
                                  04/21/25
                                      Grant Street,Entered
                                                    STE 2700 04/21/25 10:19:06 Main Document Pg 6 of
                                 Pittsburgh PA 15219 14

                                                                                                                                              Period Covered:
                                                                                                                            March 04, 2025 - March 31, 2025 **
                                                                                                                                                  Page 1 of 9
Gregory Scott Milligan                                                         Case Number                                                     24-10264-CGB
8911 N. Capital of Texas Highway                                               Case Name                                                    RIC (AUSTIN), LLC
Suite 2120                                                                                                                                          DEBTOR
Austin TX 78759
                                                                               Trustee Number                                                          631344
                                                                               Trustee Name                                              Gregory Scott Milligan
                                                                                                                                                    TRUSTEE

                                                                                                                                                   Questions:
                                                                                                                                                 800.634.7734
                                                                                                                                 banking.services@stretto.com
                                                                                                                                              www.stretto.com
Consolidated Balance Summary

                                                                                                                  Ending Balance           Ending Balance
Account                                                                                              Number
                                                                                                                   Prior Period **            This Period
Checking Account
  TRUSTEE CHECKING                                                                                      5295               $513,456.80            $765,802.84
  Total                                                                                                                    $513,456.80            $765,802.84

                                   ** Please see balance notice at end of bank statement for March beginning balance(s).


TRUSTEE CHECKING                                                                                                     Account Number:                    5295

Enclosures                                                               22    Beginning Balance                                                  $513,456.80
                                                                                 + Total Additions                                                $768,803.00
                                                                                 - Total Subtractions                                             $516,456.96
                                                                               Ending Balance                                                     $765,802.84
                                        TriState Capital Bank
        24-10264-cgb Doc#165 Filed301
                                   04/21/25
                                       Grant Street,Entered
                                                     STE 2700 04/21/25 10:19:06 Main Document Pg 7 of
                                  Pittsburgh PA 15219 14

                                                                                                                    Period Covered:
                                                                                                March 04, 2025 - March 31, 2025 **
                                                                                                                         Page 2 of 9
                                                                                             * Indicates a Skip in Check Number(s)
                                                                                                   "E" Indicate an Electronic Check
Checks

Check #                Date                                                                                               Amount
1077                   03-07                                                                                            $29,674.00
1078                   03-11                                                                                             $1,395.60
1079                   03-04                                                                                            $13,350.17
1080                   03-04                                                                                             $1,286.72
1081                   03-12                                                                                            $32,277.50
1082                   03-10                                                                                               $117.20
1083                   03-05                                                                                               $345.32
1084                   03-07                                                                                             $3,000.00
1085                   03-05                                                                                               $472.24
1087*                  03-07                                                                                             $3,442.16
1088                   03-06                                                                                               $307.88
1089                   03-06                                                                                             $3,897.00
1090                   03-04                                                                                           $150,000.00
1091                   03-07                                                                                             $3,000.00
1092                   03-06                                                                                               $345.32
1093                   03-10                                                                                             $1,880.00
1094                   03-06                                                                                             $3,304.87
1095                   03-10                                                                                             $1,350.75
1097*                  03-25                                                                                            $78,173.82
1098                   03-31                                                                                             $1,275.58
1099                   03-31                                                                                            $11,211.85
1104*                  03-31                                                                                             $8,779.16


Debits

Date                   Description                                                                                   Subtractions
03-11                  OUTGOING WIRE TO THE MONTGOMER Y DESIGN CONSULTANCY 493064                                      $15,360.00
03-11                  OUTGOING WIRE TO HARNEY PARTNE RS 493075                                                        $16,424.00
03-11                  OUTGOING WIRE TO MUNSCH HARDT KOPF & HARR PC 493081                                             $35,922.41
03-24                  OUTGOING WIRE TO MUNSCH HARDT KOPF & HARR PC 495305                                             $61,303.41
03-24                  OUTGOING WIRE TO HARNEY PARTNE RS 495306                                                        $22,800.00
03-24                  OUTGOING WIRE TO THE MONTGOMER Y DESIGN CONSULTANCY 495313                                      $15,360.00
03-31                  BANK & TECH FEE                                                                                    $400.00


Credits

Date                   Description                                                                                       Additions
03-10                  INCOMING WIRE FROM ROMSPEN INV ESTMENT CORPORATION 84125469                                     $768,803.00


Daily Balances

Date                              Amount      Date                        Amount     Date                                 Amount
03-03                          $513,456.80    03-04                    $348,819.91   03-05                             $348,002.35
03-06                          $340,147.28    03-07                    $301,031.12   03-10                           $1,066,486.17
03-11                          $997,384.16    03-12                    $965,106.66   03-24                             $865,643.25
03-25                          $787,469.43    03-31                    $765,802.84
                             TriState Capital Bank
24-10264-cgb Doc#165 Filed301
                           04/21/25
                               Grant Street,Entered
                                             STE 2700 04/21/25 10:19:06 Main Document Pg 8 of
                          Pittsburgh PA 15219 14

                                                                                                Period Covered:
                                                                              March 04, 2025 - March 31, 2025 **
                                                                                                    Page 3 of 9




   03/07/2025     1077      $29,674.00                 03/07/2025      1077           $29,674.00




   03/11/2025     1078      $1,395.60                   03/11/2025     1078           $1,395.60




   03/04/2025     1079      $13,350.17                 03/04/2025      1079           $13,350.17




   03/04/2025     1080      $1,286.72                   03/04/2025     1080           $1,286.72
                             TriState Capital Bank
24-10264-cgb Doc#165 Filed301
                           04/21/25
                               Grant Street,Entered
                                             STE 2700 04/21/25 10:19:06 Main Document Pg 9 of
                          Pittsburgh PA 15219 14

                                                                                                Period Covered:
                                                                              March 04, 2025 - March 31, 2025 **
                                                                                                    Page 4 of 9




   03/12/2025     1081      $32,277.50                 03/12/2025      1081           $32,277.50




    03/10/2025     1082      $117.20                     03/10/2025     1082            $117.20




    03/05/2025     1083      $345.32                     03/05/2025     1083            $345.32




   03/07/2025     1084      $3,000.00                   03/07/2025     1084           $3,000.00
                             TriState Capital Bank
24-10264-cgb Doc#165 Filed30104/21/25
                               Grant Street, Entered
                                             STE 2700 04/21/25 10:19:06 Main Document Pg 10
                          Pittsburgh PA 15219 of 14

                                                                                               Period Covered:
                                                                             March 04, 2025 - March 31, 2025 **
                                                                                                   Page 5 of 9




   03/05/2025     1085      $472.24                     03/05/2025     1085            $472.24




  03/07/2025     1087      $3,442.16                   03/07/2025     1087           $3,442.16




   03/06/2025     1088      $307.88                     03/06/2025     1088            $307.88




  03/06/2025     1089      $3,897.00                   03/06/2025     1089           $3,897.00
                             TriState Capital Bank
24-10264-cgb Doc#165 Filed30104/21/25
                               Grant Street, Entered
                                             STE 2700 04/21/25 10:19:06 Main Document Pg 11
                          Pittsburgh PA 15219 of 14

                                                                                               Period Covered:
                                                                             March 04, 2025 - March 31, 2025 **
                                                                                                   Page 6 of 9




  03/04/2025     1090     $150,000.00                 03/04/2025     1090           $150,000.00




  03/07/2025     1091      $3,000.00                   03/07/2025     1091           $3,000.00




   03/06/2025     1092      $345.32                     03/06/2025     1092            $345.32




  03/10/2025     1093      $1,880.00                   03/10/2025     1093           $1,880.00
                             TriState Capital Bank
24-10264-cgb Doc#165 Filed30104/21/25
                               Grant Street, Entered
                                             STE 2700 04/21/25 10:19:06 Main Document Pg 12
                          Pittsburgh PA 15219 of 14

                                                                                               Period Covered:
                                                                             March 04, 2025 - March 31, 2025 **
                                                                                                   Page 7 of 9




  03/06/2025     1094      $3,304.87                   03/06/2025     1094           $3,304.87




  03/10/2025     1095      $1,350.75                   03/10/2025     1095           $1,350.75




  03/25/2025     1097      $78,173.82                 03/25/2025     1097            $78,173.82




  03/31/2025     1098      $1,275.58                   03/31/2025     1098           $1,275.58
                             TriState Capital Bank
24-10264-cgb Doc#165 Filed30104/21/25
                               Grant Street, Entered
                                             STE 2700 04/21/25 10:19:06 Main Document Pg 13
                          Pittsburgh PA 15219 of 14

                                                                                               Period Covered:
                                                                             March 04, 2025 - March 31, 2025 **
                                                                                                   Page 8 of 9




  03/31/2025     1099      $11,211.85                 03/31/2025     1099            $11,211.85




  03/31/2025     1104      $8,779.16                   03/31/2025     1104           $8,779.16
                                                          TriState Capital Bank
         24-10264-cgb Doc#165 Filed30104/21/25
                                        Grant Street, Entered
                                                      STE 2700 04/21/25 10:19:06 Main Document Pg 14
                                   Pittsburgh PA 15219 of 14

                                                                                                                                                       Period Covered:
                                                                                                                                     March 04, 2025 - March 31, 2025 **
                                                                                                                                                           Page 9 of 9
                                                                           BALANCE NOTICE

The March 2025 Bank statements have a beginning date of March 4, 2025. As a result, Banking activity will show three less days in March (28 Days).


In conjunction with the March statements showing three less days, the February 2025 statements cut off on March 3, 2025 and incorporated three additional days
of activity (31 Days). Any transactional activity that occurred from March 1, 2025 to March 3, 2025 appears on the February statements.


The following balance(s) in the corresponding accounts as of March 1 2025 were:

    Account: 8100135295             Balance:              $513,456.80 as of March 1, 2025


If there are any additional questions or concerns related to this issue, please contact Deposit Operations Support at 1-866-680-8722 Option 2 or via email at
DepositOperations@tscbank.com.



                                                                    ERROR RESOLUTION NOTICE

In case of errors or questions about your electronic transfers, call, email or write us at the telephone number, email address or mailing address listed below, as
soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer listed on the statement or receipt. We must hear
from you no later than 30 days after we sent the FIRST statement on which the problem or error appeared.


               1. Tell us your name and account number (if any).
               2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
                  information.
               3. Tell us the dollar amount of the suspected error.


If you tell us orally, we may require that you send us your complaint or question in writing within 10 business days. We will determine whether an error occurred
within 10 business days (5 business days for debit card point-of-sale transactions and 20 business days if the transfer involved a new account) after we hear from
you and will correct any error promptly. If we need more time, however, we may take up to 45 days (90 days if the transfer involved a new account, a point-of-sale
transaction, or a foreign-initiated transfer) to investigate your complaint or question. If we decide to do this, we will credit your account within 10 business days for
the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.


If we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account. Your account is
considered a new account for the first 30 days after the first deposit is made, unless each of you already has an established account with us before this account is
opened. We will tell you the results within three business days after completing our investigation. If we decide that there was no error, we will send you a written
explanation. You may ask for copies of the documents that we used in our investigation.


Stretto
410 Exchange
Suite 100
Irvine CA 92602
Phone: 800-634-7734

Email: Banking.Services@Stretto.com
